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                    EXHIBIT A
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                               TCC PROPOSED PLAN CONFIRMATION SCHEDULE

Event                                 Debtors’ Proposed         TCC Proposed Date Timing Note
                                      Date1
Voting Record Date                    September 21, 2021        October 1, 2021            TCC Proposed Dates Assume Entry of DS Order
                                                                                           on October 1, 2021
Deadline to Serve Written             September 27, 2021        October 8, 2021 – 7 Debtors: <26 days after entry of DS Order; Insurers
Discovery                                                       days after entry of DS (Revised):3 7 days after entry of DS Order;
                                                                Order                  Imerys: 19 days after entry of DS Order;
                                                                                       Purdue: 22 days after entry of DS Order
Solicitation Date                     October 4, 2021           October 8, 2021 – 7 Debtors: <13 days after entry of DS Order
                                                                days after entry of DS
                                                                Order
(Columbus Day)                                                  (October 11, 2021)     Federal Holiday


Deadline to File and Serve      October 1, 2021                 October 18, 2021 – Debtors: 4 days after Deadline to Serve Written
Responses & Objections to                                       17 days after entry of Discovery, <10 days after entry of DS Order /
Written Discovery Including                                     DS Order               Insurers (Revised): 21 days after entry of DS
Legal and Factual Bases                                                                Order
Hearing re: Debtors’ Motion for                                 October 19, 2021, at Debtors seek an order that (a) maintains
Protective Order and Related                                    10:00 a.m. (Eastern confidentiality of and allows Debtors to withhold
Relief [Docket No. 6288]                                        Time)                  or redact (i) minutes to BSA boards and
                                                                                       communications among mediation parties re:
                                                                                       Hartford Settlement Agreement, TCJC Settlement
                                                                                       Agreement, RSA, Plan and related documents,
                                                                                       TDPs and all other mediated matters; and (ii)
                                                                                       drafts of settlement proposals exchanged among
                                                                                       mediation parties including re: relating to any of
                                                                                       the foregoing; (b) allows Debtors to admit redacted
                                                                                       documents into evidence notwithstanding such
                                                                                       redaction; and (c) prevents parties from objecting
                                                                                       to the Plan under 1129(a)(3) on the grounds the
                                                                                       Debtors withheld or redacted such documents.
Parties to Meet and Confer                                      October 20, 2021 –
re: Any Discovery Disputes                                      October 25, 2021

Deadline for Requesting Parties                                 November 1, 2021
to File Responsive Letter Briefs
re: Any Discovery Disputes4

        1 Italics indicate dates proposed by the Debtors as of September 21, 2021, as set forth in the Notice of Filing of Revised Proposed

        Confirmation Scheduling Order [Docket No. 6320] or, if not included in the Debtors’ proposed order filed on that date, the dates
        proposed by extrapolation from the Debtors’ Motion for Entry of an Order (I) Approving the Disclosure Statement and the Form
        and Manner of Notice, (II) Approving Plan Solicitation and Voting Procedures, (III) Approving Forms of Ballots, (IV) Approving
        Form, Manner, and Scope of Confirmation Notices, (V) Establishing Certain Deadlines in Connection with Approval of the
        Disclosure Statement and Confirmation of the Plan, and (VI) Granting Related Relief [Docket No. 2295] (the “Solicitation
        Procedures Motion”).
        2 Debtors’ proposed dates do not include an assumption of when the DS Order will be entered on or after the Voting Record Date.

        Accordingly, the Debtors’ estimated time frames are expressed using “<” (less than), based on the assumption that the Debtors’
        proposed dates are keyed from a DS Order entry date some time after their proposed Voting Record Date of September 21, 2021.
        3 The Insurers’ revised proposed confirmation schedule is set forth in Certain Excess Insurers’ Revised Proposed Confirmation

        Schedule [Docket No. 6367].
        4 Responding parties’ bases for objecting to or withholding discovery are set forth in Responses/Objections – no separate deadline

        is provided for additional letter briefs by responding parties.
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Discovery Dispute Hearings                              November 8 - 12,
                                                        2021

Plan Supplement Deadline          November 2, 2021      November 9, 2021 –    Debtors: 14 days before Voting Deadline
                                                        28 days before
                                                        Voting Deadline
(Veterans Day)                                          (November 11,         Federal Holiday
                                                        2021)

Publication Deadline                                    November 12, 2021 Debtors: <43 days after entry of DS Order, per
                                                        – 43 days after entry Solicitation Procedures Motion
                                                        of DS Order
Document Production Complete October 20, 2021           November 19, 2021 Debtors: 19 days after Deadline to File and Serve
and Deadline to Update Written                          – 18 days after       Responses & Objections to Written Discovery,
Responses re: Status of                                 Deadline to File and <29 days after entry of DS Order; Insurers
Production                                              Serve Responses &     (Revised): 42 days after entry of DS Order;
                                                        Objections to Written Imerys: 56 days after entry of DS Order;
                                                        Discovery, 50 days    Purdue: 43 days after entry of DS Order
                                                        after entry of DS
                                                        Order
(Thanksgiving)                                          (November 25, 2021) Federal Holiday


(Day After Thanksgiving)                                (November 26, 2021) Delaware Legal Holiday


(Hanukkah)                                              (November 29, 2021) Religious Holiday


Voting Deadline                   November 16, 2021     December 7, 2021 – Debtors’ deadline: 43 days after Solicitation
                                                        60 days after         Deadline
                                                        Solicitation Deadline
Preliminary Voting Report         November 19, 2021     December 10, 2021 – Debtors: 3 days after Voting Deadline
Deadline                                                3 days after Voting
                                                        Deadline
Deadline to Complete              November 4, 2021      December 14, 2021 – Debtors: 15 days after Document Production
Depositions of Fact Witnesses                           December 23, 2021 – Complete, <44 days after entry of DS Order;
by Zoom, Including Relating to                          34 days after          Insurers (Revised): 75 days after entry of DS
Preliminary Voting Results                              Document Production Order. (Debtors’ schedule did not incorporate
                                                        Complete, 84 days      discovery relating to voting issues).
                                                        after entry of DS
                                                        Order
Rule 3018(a) Motion Deadline      October 19, 2021      December 17, 2021 – Debtors: <28 days after entry of DS Order
                                                        78 days after entry of
                                                        DS Order
Expert Reports Due                November 8, 2021      December 17, 2021 – Debtors: 19 days after Document Production
                                                        28 days after       Complete, <48 days after entry of DS Order;
                                                        Document Production Insurers (Revised): 90 days after entry of DS
                                                        Complete, 78 days   Order
                                                        after
Deadline to File Oppositions to                         December 23, 2021
Rule 3018(a) Motions
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(Christmas – observed)                               (December 24, 2021) Federal Holiday
(New Year’s Day – observed)                          (December 31, 2021) Federal Holiday
Deadline to File Motions                             December 31, 2021
Relating to Voting Issues
Final Voting Report Deadline    November 30, 2021    January 7, 2022 – 28 Debtors: 11 days after Preliminary Voting Report
                                                     days after             Deadline, <70 days after entry of DS Order;
                                                     Preliminary Voting     Insurers (Revised): 65 days after entry of DS
                                                     Report Deadline, 92 Order
                                                     days after entry of DS
                                                     Order
Rebuttal Expert Reports Due     November 17, 2021    January 14, 2022 -     Debtors: 9 days after Expert Reports Due, <57
                                                     28 days after Expert days after entry of DS Order; Insurers (Revised):
                                                     Reports Due, 99 days 115 days after entry of DS Order; Imerys: 21
                                                     after entry of DS      days after Expert Reports Due; Purdue: 21
                                                     Order                  days after Expert Reports Due
Deadline to File Oppositions to                      January 14, 2022
Voting-Related Motions
(Martin Luther King, Jr.’s                           (January 17, 2022)     Federal Holiday
Birthday)
“Voting Resolution Event”        November 16, 2021   January 21, 2022 – 5 Debtors: 4 weeks after Rule 3018(a) Motion
Deadline (i.e., Court Rulings on                     weeks after Rule       Deadline, <56 days after entry of DS Order
3018(a) Motions Temporarily                          3018(a) Motion
Allowing Claims for Voting                           Deadline, 113 days
Purposes and on Any Other                            after entry of DS
Voting-Related Motions)                              Order
Deadline to Complete             November 24, 2021   January 21, 2022 – 7 Debtors: 7 days after Rebuttal Expert Reports
Depositions of Expert Witnesses                      days after Rebuttal    Due, <64 days after entry of DS Order, Insurers
by Zoom                                              Expert Reports Due, (Revised): 135 days after entry of DS Order
                                                     113 days after entry
                                                     of DS Order
Deadline to Exchange            December 1, 2021     January 28, 2022 – 7 Debtors: 7 days after conclusion of Depositions of
Deposition Designations and                          days after conclusion Expert Witnesses, <71 days after entry of DS
File Motions in Limine                               of Depositions of      Order; Insurers (Revised): 140 days after entry of
                                                     Expert Witnesses,      DS Order for designations, 160 days for motions
                                                     120 Days after entry
                                                     of DS Order
Deadline to Exchange            December 3, 2021     February 4, 2022 – 7 Debtors: 2 days after Deadline to Exchange
Deposition Counter-                                  days after Deadline to Deposition Designations and File Motions in
Designations                                         Exchange Deposition Limine, <73 days after entry of DS Order; Insurers
                                                     Designations and File (Revised): 145 days after entry of DS Order
                                                     Motions in Limine,
                                                     127 days after entry
                                                     of DS Order
Plan Objection Deadline         November 23, 2021    February 4, 2022 – Debtors: 16 days before Confirmation Hearing,
                                                     24 days before         <63 days after entry of DS Order; Insurers
                                                     Confirmation           (Revised): 165 days after entry of DS Order
                                                     Hearing, 134 days
                                                     after entry of DS
                                                     Order
Deadline to Submit Joint Pretrial December 6, 2021   February 11, 2022 – Debtors: 3 days after Deadline to Exchange
Order, Witness and Exhibit                           14 days after days     Deposition Designations and File Motions in
Lists, Oppositions to Motions in                     after Deadline to      Limine, <76 days after entry of DS Order; Insurers
Limine, and for Objections to                        Exchange Deposition (Revised): 170 days after entry of DS Order
Deposition Counter-                                  Designations and File
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Designations                                                  Motions in Limine,
                                                              141 days after entry
                                                              of DS Order
Confirmation Brief/Plan Reply       December 2, 2021          February 18, 2022 –      Debtors: 7 days before Confirmation Hearing, <72
Deadline                                                      10 days before           days after entry of DS Order; Insurers (Revised):
                                                              Confirmation             172 days after entry of DS Order
                                                              Hearing, 148 days
                                                              after entry of DS
                                                              Order
(Washington’s Birthday)                                       (February 21, 2022)      Federal Holiday
Final Pretrial Conference           December 7, 2021          February 23, 2022 –      Debtors: 1 day after Deadline to Submit Joint
                                                              12 days after            Pretrial Order, Witness and Exhibit Lists,
                                                              Deadline to Submit       Oppositions to Motions in Limine, and for
                                                              Joint Pretrial Order,    Objections to Deposition Counter-Designations
                                                              Witness and Exhibit      and 2 days before Confirmation Hearing, <77 days
                                                              Lists, Oppositions to    after entry of DS Order; Insurers (Revised): 175
                                                              Motions in Limine,       days after entry of DS Order
                                                              and for Objections to
                                                              Deposition Counter-
                                                              Designations and 5
                                                              days before
                                                              Confirmation
                                                              Hearing, 153 days
                                                              after entry of DS
                                                              Order
Confirmation Hearing                December 9, 2021 at       February 28, 2022,       Debtors: <79 days after DS Order; Insurers
                                    10:00 a.m. (Eastern       at __:__ _.m.            (Revised): No sooner than 7 days after Final
                                    Time)[2]                  (Eastern Time) – 5       Pretrial Conference
                                                              days after Final
                                                              Pretrial Conference




       [2] The Confirmation Hearing is being proposed to be held on December 9, 2021, at 10:00 a.m. (Eastern Time) and to be continued

       to the extent necessary on December 10, December 13, December 14, and December 15, 2021 at 10:00 a.m. (Eastern Time).
